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 Name Kathryn Lee Boyd (SBN 189496)`
 Address 125 Park Avenue, 25th Floor
 City, State, Zip New York, NY 10017
 Phone 212-851-6821
 Fax 646-492-5111
 E-Mail lboyd@hechtpartners.com
 G FPD        G Appointed    G CJA      G Pro Per    G✘Retained

                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
Plan Check Downtown III, LLC, a California limited                      CASE NUMBER:
liability company and others similarly situated
                                                                                                2:20-cv-06954-GW-SK
                                                    PLAINTIFF(S),
                                  v.
AmGuard Insurance Company, a Pennsylvania company
and Does 1 through 20                                                                     NOTICE OF APPEAL
                                                 DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                 Plancheck Downtown III, LLC                          hereby appeals to
                                                                  Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                        Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                             G Order (specify):
 G Conviction and Sentence
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                      ✘ Judgment (specify):
                                                                       G
 G Interlocutory Appeals                                                    Docket Entry 37
 G Sentence imposed:
                                                                        G Other (specify):

 G Bail status:



Imposed or Filed on                                     . Entered on the docket in this action on 09/16/2020                                 .

A copy of said judgment or order is attached hereto.


09/30/2020
Date                                                    Signature
                                                        G Appellant/ProSe           ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
Case 2:20-cv-06954-GW-SK Document 38 Filed 09/30/20 Page 2 of 3 Page ID #:1092




                      UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT
                         Form 6. Representation Statement
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
 Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
 Name(s) of party/parties:
 Plan Check Downtown III, LLC


 Name(s) of counsel (if any):
 Kathryn Lee Boyd - Hecht Partners LLP
 Janine F. Cohen - Hecht Partners LLP


 Address: 125 Park Avenue, 25th Floor New York, NY 10017
 Telephone number(s): 212-851-6821
 Email(s): lboyd@hechtpartners.com, jcohen@hechtpartners.com
 Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

 Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
 separately represented parties separately.)
 Name(s) of party/parties:
 AmGuard Insurance Company


 Name(s) of counsel (if any):
 Chet A. Kroenonberg - Simpson Thacher Bartlett LLP



 Address: 1999 Avenue of the Stars, 29th Floor Los Angeles, CA 90067
 Telephone number(s): 310-407-7500
 Email(s): ckronenberg@stblaw.com


 To list additional parties and/or counsel, use next page.
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 6                                                1                                        New 12/01/2018
  Case
  Case 2:20-cv-06954-GW-SK
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                                                                          #:1090

                                                                                                         JS-6
                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 20-6954-GW-SKx                                             Date      September 16, 2020
 Title             Plan Check Downtown III, LLC v. AmGuard Insurance Company, et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                IN CHAMBERS - ORDER


        On September 10, 2020, this Court issued a tentative ruling on Defendant’s motion to dismiss this
lawsuit and entertained oral argument thereon. See Docket No. 31. The Court continued the hearing to
September 17, 2020. Plaintiff’s counsel has now submitted a “Status Report” which indicates that the
Plaintiff “accepts dismissal of this action with prejudice.” See Docket No. 33. Based on that filing, the Court
dismisses this action with prejudice.




                                                                                                   :
                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
